                            Case 8:23-bk-10571-SC            Doc 541-2 Filed 09/26/23 Entered 09/26/23 17:06:01                                     Desc
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                                                       Cash Receipts and Disbursements Record
Case Number:           23-10571 SC                                                                 Trustee:                Richard A. Marshack, Chapter 11 Trustee
Case Name:             The Litigation Practice Group PC                                            Bank Name:              Flagstar Bank, N.A.
                                                                                                   Account:                ******9960 - Checking
Taxpayer ID#:          **-***5343                                                                  Blanket Bond:           $0.00 (per case limit)
Period Ending:         07/31/23                                                                    Separate Bond:          N/A

   1             2                       3                                        4                                                 5                     6                   7

 Trans.     Check or                                                                                           Uniform           Receipts           Disbursements         Checking
  Date       Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                     $            Account Balance

05/26/23   Asset #9    Bank of America                    Refund pre-petition account                         1229-000                  176.00                                     176.00

05/26/23   Asset #9    Bank of America                    Refund pre-petition account                         1229-000                   20.00                                     196.00

05/26/23   Asset #9    Oregon Dept of Revenue             Refund payroll tax 12-31-21                         1229-000                  184.59                                     380.59

05/26/23   Asset #10 Client Services, Inc.                full settlement payment for client Nathan           1229-000               2,000.00                                     2,380.59
                                                          Becker in action v Client Services, Inc. along
                                                          with forgiving Nathan's full balance. Nathan is
                                                          owed 60%.

05/26/23   Asset #10 Karine Young                         Pre-petition monthly payment that was received      1229-000                  461.50                                    2,842.09
                                                          in debtor's mail post-petition

06/02/23   Asset #10 Karine Young                         NSF - Deposit #1005 - Pre-petition monthly          1229-000                  -461.50                                   2,380.59
                                                          payment that was received in debtor's mail
                                                          post-petition

06/02/23               Flagstar Bank, N.A.                Bank fee                                            2600-000                                        10.00               2,370.59

06/05/23   Asset #8    Wells Fargo Bank                   Acct 9879                                           1221-000               5,909.55                                     8,280.14

06/05/23   Asset #8    Wells Fargo Bank                   Acct 9887                                           1221-000                      5.95                                  8,286.09

06/05/23   Asset #8    Wells Fargo Bank                   Acct 9895                                           1221-000                      5.95                                  8,292.04

06/05/23               Flagstar Bank, N.A.                Refund - Bank fee                                   2600-000                                        -10.00              8,302.04

06/13/23   Asset #11 Maverick Management Group LLC Recovery of transfer                                       1241-000            239,197.01                                247,499.05

06/13/23   Asset #11 Vantiv ECommerce                     Worldpay / FIS Wire turnover                        1241-000              83,694.31                               331,193.36
                           Case 8:23-bk-10571-SC            Doc 541-2 Filed 09/26/23 Entered 09/26/23 17:06:01                                    Desc
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                                                      Cash Receipts and Disbursements Record
Case Number:          23-10571 SC                                                                Trustee:                Richard A. Marshack, Chapter 11 Trustee
Case Name:            The Litigation Practice Group PC                                           Bank Name:              Flagstar Bank, N.A.
                                                                                                 Account:                ******9960 - Checking
Taxpayer ID#:         **-***5343                                                                 Blanket Bond:           $0.00 (per case limit)
Period Ending:        07/31/23                                                                   Separate Bond:          N/A

   1             2                     3                                        4                                                 5                     6                   7

 Trans.    Check or                                                                                          Uniform           Receipts           Disbursements         Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                     $            Account Balance

06/13/23   Asset #11 Vantiv ECommerce                    Worldpay / FIS Wire turnover                       1241-000              93,895.54                               425,088.90

06/13/23     1001     Office of the U.S. Trustee         1Q2023 quarterly fees; 16-02 / 738-23-10571        2950-000                                        250.00        424,838.90

06/14/23   Asset #11 Vantiv ECommerce                    Worldpay / FIS Wire turnover                       1241-000            348,680.63                                773,519.53

06/15/23              To Account# XXXXXX2953             Maverick turnover                                  9999-000                                  239,197.01          534,322.52

06/15/23              To Account# XXXXXX2953                                                                9999-000                                   83,694.31          450,628.21
06/15/23              To Account# XXXXXX2953                                                                9999-000                                   93,895.54          356,732.67
06/15/23              To Account# XXXXXX2953                                                                9999-000                                  348,680.63                8,052.04
06/20/23   Asset #11 Vantiv ECommerce                    Worldpay / FIS Wire turnover                       1241-000            700,615.88                                708,667.92

06/21/23   Asset #11 Vantiv ECommerce                    Worldpay / FIS Wire turnover                       1241-000            217,686.51                                926,354.43

06/22/23   Asset #11 Bank of America                     Turnover Prime Logix accts 2231 and 9201           1241-000           1,223,787.59                             2,150,142.02

06/22/23              To Account# XXXXXX2953                                                                9999-000                                  700,615.88        1,449,526.14
06/23/23   Asset #11 Vantiv ECommerce                    Worldpay / FIS Wire turnover                       1241-000            174,748.62                              1,624,274.76

06/27/23   Asset #11 Vantiv ECommerce                    Worldpay / FIS Wire turnover                       1241-000            624,037.71                              2,248,312.47

06/28/23   Asset #11 Vantiv ECommerce                    Worldpay / FIS Wire turnover                       1241-000            371,476.54                              2,619,789.01

06/29/23   Asset #11 Vantiv ECommerce                    Worldpay / FIS Wire turnover                       1241-000              41,158.94                             2,660,947.95

06/29/23              To Account# XXXXXX2953                                                                9999-000                                  217,686.51        2,443,261.44
06/29/23              To Account# XXXXXX2953                                                                9999-000                                1,223,787.59        1,219,473.85
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                                                      Cash Receipts and Disbursements Record
Case Number:          23-10571 SC                                                                Trustee:                Richard A. Marshack, Chapter 11 Trustee
Case Name:            The Litigation Practice Group PC                                           Bank Name:              Flagstar Bank, N.A.
                                                                                                 Account:                ******9960 - Checking
Taxpayer ID#:         **-***5343                                                                 Blanket Bond:           $0.00 (per case limit)
Period Ending:        07/31/23                                                                   Separate Bond:          N/A

   1             2                    3                                         4                                                 5                     6                 7

 Trans.    Check or                                                                                          Uniform           Receipts           Disbursements       Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                     $          Account Balance

06/29/23              To Account# XXXXXX2953                                                                9999-000                                  174,748.62      1,044,725.23
06/29/23              To Account# XXXXXX2953                                                                9999-000                                  624,037.71        420,687.52
06/30/23   Asset #11 Vantiv ECommerce                    Worldpay / FIS Wire turnover                       1241-000              78,502.39                             499,189.91

07/03/23   Asset #11 Vantiv ECommerce                    Worldpay / FIS Wire turnover                       1241-000              61,500.72                             560,690.63

07/03/23              To Account# XXXXXX2953                                                                9999-000                                  371,476.54        189,214.09
07/03/23              To Account# XXXXXX2953                                                                9999-000                                   41,158.94        148,055.15
07/06/23   Asset #11 Vantiv ECommerce                    Worldpay / FIS Wire turnover                       1241-000            217,541.00                              365,596.15

07/06/23              To Account# XXXXXX2953                                                                9999-000                                   78,502.39        287,093.76
07/06/23              To Account# XXXXXX2953                                                                9999-000                                   61,500.72        225,593.04
07/07/23   Asset #11 Vantiv ECommerce                    Worldpay / FIS Wire turnover                       1241-000            846,663.37                            1,072,256.41

07/08/23              To Account# XXXXXX2953                                                                9999-000                                  217,541.00        854,715.41
07/10/23   Asset #11 Vantiv ECommerce                    Incoming adjustment                                1241-000            474,404.29                            1,329,119.70

07/11/23   Asset #11 Vantiv ECommerce                    Incoming adjustment                                1241-000              18,704.06                           1,347,823.76

07/12/23   Asset #11 Vantiv ECommerce                    Incoming adjustment                                1241-000            275,969.14                            1,623,792.90

07/12/23              Syncfusion - Boldsign              Invoice BS589925-6-2023                            6950-000                                    6,528.00      1,617,264.90

07/13/23              From Account# XXXXXX4611           Syncfusion invoice should have been paid from      9999-000               6,528.00                           1,623,792.90
                                                         operating account (not general checking);

07/13/23              To Account# XXXXXX2953                                                                9999-000                                  846,663.37        777,129.53
07/13/23              To Account# XXXXXX2953                                                                9999-000                                  474,404.29        302,725.24
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                                                      Cash Receipts and Disbursements Record
Case Number:          23-10571 SC                                                                Trustee:                Richard A. Marshack, Chapter 11 Trustee
Case Name:            The Litigation Practice Group PC                                           Bank Name:              Flagstar Bank, N.A.
                                                                                                 Account:                ******9960 - Checking
Taxpayer ID#:         **-***5343                                                                 Blanket Bond:           $0.00 (per case limit)
Period Ending:        07/31/23                                                                   Separate Bond:          N/A

   1             2                     3                                        4                                                  5                    6                   7

 Trans.    Check or                                                                                          Uniform            Receipts          Disbursements         Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code             $                    $            Account Balance

07/17/23   Asset #11 Vantiv ECommerce                    Incoming adjustment                                1241-000               46,679.75                              349,404.99

07/18/23   Asset #11 Vantiv ECommerce                    Incoming adjustment                                1241-000             109,522.48                               458,927.47

07/18/23              To Account# XXXXXX2953                                                                9999-000                                   18,704.06          440,223.41
07/18/23              To Account# XXXXXX2953                                                                9999-000                                  275,969.14          164,254.27
07/18/23              To Account# XXXXXX2953                                                                9999-000                                   46,679.75          117,574.52
07/21/23              To Account# XXXXXX2953                                                                9999-000                                  109,522.48                8,052.04
07/21/23     1002     Office of the U.S. Trustee         2Q2023 quarterly fees; 738-23-10571           2950-000                                             995.29              7,056.75
                                                         calculated only on June 2023 disbursements by
                                                         Trustee


                                                                               ACCOUNT TOTALS                                   6,263,296.52        6,256,239.77           $7,056.75
                                                                                  Less: Bank Transfers                              6,528.00        6,248,466.48

                                                                               Subtotal                                         6,256,768.52            7,773.29
                                                                                  Less: Payment to Debtors                                                  0.00

                                                                               NET Receipts / Disbursements                    $6,256,768.52           $7,773.29
                           Case 8:23-bk-10571-SC            Doc 541-2 Filed 09/26/23 Entered 09/26/23 17:06:01                                    Desc
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                                                      Cash Receipts and Disbursements Record
Case Number:          23-10571 SC                                                                Trustee:                Richard A. Marshack, Chapter 11 Trustee
Case Name:            The Litigation Practice Group PC                                           Bank Name:              Flagstar Bank, N.A.
                                                                                                 Account:                ******2953 - ACH Segregated no fee account
Taxpayer ID#:         **-***5343                                                                 Blanket Bond:           $0.00 (per case limit)
Period Ending:        07/31/23                                                                   Separate Bond:          N/A

   1             2                    3                                         4                                                 5                     6                7

 Trans.    Check or                                                                                          Uniform           Receipts           Disbursements      Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                     $         Account Balance

06/15/23              From Account# XXXXXX9960           Maverick turnover                                  9999-000            239,197.01                             239,197.01

06/15/23              From Account# XXXXXX9960                                                              9999-000              83,694.31                            322,891.32
06/15/23              From Account# XXXXXX9960                                                              9999-000              93,895.54                            416,786.86
06/15/23              From Account# XXXXXX9960                                                              9999-000            348,680.63                             765,467.49
06/22/23              From Account# XXXXXX9960                                                              9999-000            700,615.88                           1,466,083.37
06/29/23              From Account# XXXXXX9960                                                              9999-000            217,686.51                           1,683,769.88
06/29/23              From Account# XXXXXX9960                                                              9999-000           1,223,787.59                          2,907,557.47
06/29/23              From Account# XXXXXX9960                                                              9999-000            174,748.62                           3,082,306.09
06/29/23              From Account# XXXXXX9960                                                              9999-000            624,037.71                           3,706,343.80
07/03/23              From Account# XXXXXX9960                                                              9999-000            371,476.54                           4,077,820.34
07/03/23              From Account# XXXXXX9960                                                              9999-000              41,158.94                          4,118,979.28
07/06/23              From Account# XXXXXX9960                                                              9999-000              78,502.39                          4,197,481.67
07/06/23              From Account# XXXXXX9960                                                              9999-000              61,500.72                          4,258,982.39
07/08/23              From Account# XXXXXX9960                                                              9999-000            217,541.00                           4,476,523.39
07/13/23              From Account# XXXXXX9960                                                              9999-000            846,663.37                           5,323,186.76
07/13/23              From Account# XXXXXX9960                                                              9999-000            474,404.29                           5,797,591.05
07/18/23              From Account# XXXXXX9960                                                              9999-000              18,704.06                          5,816,295.11
07/18/23              From Account# XXXXXX9960                                                              9999-000            275,969.14                           6,092,264.25
07/18/23              From Account# XXXXXX9960                                                              9999-000              46,679.75                          6,138,944.00
                           Case 8:23-bk-10571-SC            Doc 541-2 Filed 09/26/23 Entered 09/26/23 17:06:01                                 Desc
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                                                      Cash Receipts and Disbursements Record
Case Number:          23-10571 SC                                                             Trustee:                Richard A. Marshack, Chapter 11 Trustee
Case Name:            The Litigation Practice Group PC                                        Bank Name:              Flagstar Bank, N.A.
                                                                                              Account:                ******2953 - ACH Segregated no fee account
Taxpayer ID#:         **-***5343                                                              Blanket Bond:           $0.00 (per case limit)
Period Ending:        07/31/23                                                                Separate Bond:          N/A

   1             2                    3                                      4                                                 5                     6                  7

 Trans.    Check or                                                                                       Uniform           Receipts           Disbursements        Checking
  Date      Ref. #          Paid To / Received From              Description of Transaction              Tran. Code            $                     $           Account Balance

07/21/23              From Account# XXXXXX9960                                                           9999-000            109,522.48                             6,248,466.48

                                                                            ACCOUNT TOTALS                                  6,248,466.48                  0.00     $6,248,466.48
                                                                               Less: Bank Transfers                         6,248,466.48                  0.00

                                                                            Subtotal                                                   0.00               0.00
                                                                               Less: Payment to Debtors                                                   0.00

                                                                            NET Receipts / Disbursements                           $0.00                 $0.00
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                                                      Cash Receipts and Disbursements Record
Case Number:          23-10571 SC                                                                Trustee:                Richard A. Marshack, Chapter 11 Trustee
Case Name:            The Litigation Practice Group PC                                           Bank Name:              Flagstar Bank, N.A.
                                                                                                 Account:                ******4611 - Payroll and Operating Account
Taxpayer ID#:         **-***5343                                                                 Blanket Bond:           $0.00 (per case limit)
Period Ending:        07/31/23                                                                   Separate Bond:          N/A

   1             2                       3                                      4                                                 5                     6                   7

 Trans.    Check or                                                                                          Uniform           Receipts           Disbursements         Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                     $            Account Balance

06/30/23              LAW OFFICES OF RONALD              for Liberty Acquisitions Group Inc. REF#           1290-000            500,000.00                                500,000.00
                      RICHARDS IOLTA Account             20230630B6B7261F00487306301732FT03
                                                           0000010453         FROM: LAW OFFICES OF
                                                         RONALD RICHARDS


07/01/23   200001     CaliforniaChoice                   Acct 75446 for Maverick; Balance for past due      6950-000                                        436.96        499,563.04
                                                         June premium

07/02/23   200002     Acevedo, Emely                     Dividend of 100.000%                               6950-000                                    1,224.01          498,339.03

07/02/23   200003     Alshawosh, Ali                     Dividend of 100.000%                               6950-000                                    1,344.82          496,994.21

07/02/23   200004     Alvarenga, Andre                   Dividend of 100.000%                               6950-000                                    1,580.92          495,413.29

07/02/23   200005     Alvarez, Josue A                   Dividend of 100.000%                               6950-000                                    1,431.97          493,981.32

07/02/23   200006     Amezcua, Jasmin                    Dividend of 100.000%                               6950-000                                    1,435.01          492,546.31

07/02/23   200007     Andra, James                       Dividend of 100.000%                               6950-000                                    1,790.36          490,755.95

07/02/23   200008     Andra, Jennifer                    Dividend of 100.000%                               6950-000                                    1,633.47          489,122.48

07/02/23   200009     Andra, Justin                      Dividend of 100.000%                               6950-000                                    1,678.68          487,443.80

07/02/23   200010     Apodaca, Ronald                    Dividend of 100.000%                               6950-000                                    1,235.22          486,208.58

07/02/23   200011     Aranda Leon, Salma                 Dividend of 100.000%                               6950-000                                    1,926.51          484,282.07

07/02/23   200012     Avina-Cardiel, Alejandro           Dividend of 100.000%                               6950-000                                    1,437.54          482,844.53
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                                                      Cash Receipts and Disbursements Record
Case Number:          23-10571 SC                                                                Trustee:                Richard A. Marshack, Chapter 11 Trustee
Case Name:            The Litigation Practice Group PC                                           Bank Name:              Flagstar Bank, N.A.
                                                                                                 Account:                ******4611 - Payroll and Operating Account
Taxpayer ID#:         **-***5343                                                                 Blanket Bond:           $0.00 (per case limit)
Period Ending:        07/31/23                                                                   Separate Bond:          N/A

   1             2                      3                                       4                                                 5                     6                 7

 Trans.    Check or                                                                                          Uniform           Receipts           Disbursements       Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                     $          Account Balance

07/02/23   200013     Avina-Cardiel, Isaura              Dividend of 100.000%                               6950-000                                    1,719.55        481,124.98

07/02/23   200014     Bany-Mohammed, Mahmoud             Dividend of 100.000%                               6950-000                                    1,524.61        479,600.37

07/02/23   200015     Barraza, Jackelyne                 Dividend of 100.000%                               6950-000                                    1,356.84        478,243.53

07/02/23   200016     Base, Anthony G                    Dividend of 100.000%                               6950-000                                    2,645.48        475,598.05

07/02/23   200017     Beltran, Melina                    Dividend of 100.000%                               6950-000                                    2,341.67        473,256.38

07/02/23   200018     Bishop, Brant                      Dividend of 100.000%                               6950-000                                    1,459.24        471,797.14

07/02/23   200019     Bonilla Figueroa, Halima           Dividend of 100.000%                               6950-000                                    1,935.08        469,862.06

07/02/23   200020     Bravo Aranda, Karla                Dividend of 100.000%                               6950-000                                    1,936.69        467,925.37

07/02/23   200021     Calunod, Archerie                  Dividend of 100.000%                               6950-000                                    1,222.97        466,702.40

07/02/23   200022     Campuzano, Kaitlyn G               Dividend of 100.000%                               6950-000                                    1,842.12        464,860.28

07/02/23   200023     Carss, William                     Dividend of 100.000%                               6950-000                                    5,798.48        459,061.80

07/02/23   200024     Cast, Jason                        Dividend of 100.000%                               6950-000                                    1,716.07        457,345.73

07/02/23   200025     Ceballos, Kevin                    Dividend of 100.000%                               6950-000                                    1,650.20        455,695.53

07/02/23   200026     Chea, Justin                       Dividend of 100.000%                               6950-000                                    1,051.90        454,643.63

07/02/23   200027     Chen, Irwin T                      Dividend of 100.000%                               6950-000                                    1,933.93        452,709.70
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                                                      Cash Receipts and Disbursements Record
Case Number:          23-10571 SC                                                                Trustee:                Richard A. Marshack, Chapter 11 Trustee
Case Name:            The Litigation Practice Group PC                                           Bank Name:              Flagstar Bank, N.A.
                                                                                                 Account:                ******4611 - Payroll and Operating Account
Taxpayer ID#:         **-***5343                                                                 Blanket Bond:           $0.00 (per case limit)
Period Ending:        07/31/23                                                                   Separate Bond:          N/A

   1             2                      3                                       4                                                 5                     6                 7

 Trans.    Check or                                                                                          Uniform           Receipts           Disbursements       Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                     $          Account Balance

07/02/23   200028     Cole, Christopher                  Dividend of 100.000%                               6950-000                                    1,401.32        451,308.38

07/02/23   200029     Dang, Victoria                     Dividend of 100.000%                               6950-000                                    1,632.94        449,675.44

07/02/23   200030     Delaura, Brandon                   Dividend of 100.000%                               6950-000                                    1,575.69        448,099.75

07/02/23   200031     Diab, Nassir                       Dividend of 100.000%                               6950-000                                    1,554.21        446,545.54

07/02/23   200032     Diament, Molly                     Dividend of 100.000%                               6950-000                                    1,585.06        444,960.48

07/02/23   200033     Duarte, Ambar                      Dividend of 100.000%                               6950-000                                    2,348.71        442,611.77

07/02/23   200034     Figueroa, Hiram                    Dividend of 100.000%                               6950-000                                    1,759.20        440,852.57

07/02/23   200035     Flores, Abrahm                     Dividend of 100.000%                               6950-000                                    1,418.67        439,433.90

07/02/23   200036     Garcia, Naazma                     Dividend of 100.000%                               6950-000                                    2,620.45        436,813.45

07/02/23   200037     Glass, Hunter                      Dividend of 100.000%                               6950-000                                    1,501.19        435,312.26

07/02/23   200038     Haliburton, Charles                Dividend of 100.000%                               6950-000                                    1,422.44        433,889.82

07/02/23   200039     Harrison, Suzanne                  Dividend of 100.000%                               6950-000                                    2,489.82        431,400.00

07/02/23   200040     Harvey, Josey                      Dividend of 100.000%                               6950-000                                    1,540.75        429,859.25

07/02/23   200041     Hu. Keneth                         Dividend of 100.000%                               6950-000                                    3,495.08        426,364.17

07/02/23   200042     Huskisson, Connor                  Dividend of 100.000%                               6950-000                                    1,793.35        424,570.82
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                                                       Cash Receipts and Disbursements Record
Case Number:          23-10571 SC                                                                 Trustee:                Richard A. Marshack, Chapter 11 Trustee
Case Name:            The Litigation Practice Group PC                                            Bank Name:              Flagstar Bank, N.A.
                                                                                                  Account:                ******4611 - Payroll and Operating Account
Taxpayer ID#:         **-***5343                                                                  Blanket Bond:           $0.00 (per case limit)
Period Ending:        07/31/23                                                                    Separate Bond:          N/A

   1             2                      3                                        4                                                 5                     6                   7

 Trans.    Check or                                                                                           Uniform           Receipts           Disbursements         Checking
  Date      Ref. #           Paid To / Received From                 Description of Transaction              Tran. Code            $                     $            Account Balance

07/02/23   200043     Hwang, Joseph                       Dividend of 100.000%                               6950-000                                    1,927.94          422,642.88

07/02/23   200044     Ismail, Sabah                       Dividend of 100.000%                               6950-000                                    1,556.99          421,085.89

07/02/23   200045     Ismail, Saif                        Dividend of 100.000%                               6950-000                                    1,967.16          419,118.73

07/02/23   200046     Ismail, Salman                      Dividend of 100.000%                               6950-000                                    1,672.00          417,446.73

07/02/23   200047     Jones, Ashley T                     Dividend of 100.000%                               6950-000                                    1,184.67          416,262.06

07/02/23   200048     Joyner, Lauren                      Dividend of 100.000%                               6950-000                                    1,902.60          414,359.46

07/02/23   200049     Kerns, Phillip                      Dividend of 100.000%                               6950-000                                    1,475.07          412,884.39

07/02/23   200050     Khalil, Beshoy                      Dividend of 100.000%                               6950-000                                    1,358.45          411,525.94

07/02/23   200051     Khan, Golam T                       Dividend of 100.000%                               6950-000                                    2,040.21          409,485.73

07/02/23   200052     Khan, Sulaiman                      Dividend of 100.000%                               6950-000                                        455.12        409,030.61

07/02/23   200053     Kline, Erica                        Dividend of 100.000%                               6950-000                                    1,365.24          407,665.37

07/02/23   200054     Lahijani Nejad, Iman                Dividend of 100.000%                               6950-000                                    1,685.84          405,979.53

07/02/23   200055     Lakhant, Sufyaan                    Dividend of 100.000%                               6950-000                                    1,209.22          404,770.31

07/02/23   200056     Lam, Thi Thu                        Dividend of 100.000%                               6950-000                                    2,388.93          402,381.38

07/02/23   200057     Le, Christine                       Dividend of 100.000%                               6950-000                                    1,711.12          400,670.26
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                                                      Cash Receipts and Disbursements Record
Case Number:          23-10571 SC                                                                Trustee:                Richard A. Marshack, Chapter 11 Trustee
Case Name:            The Litigation Practice Group PC                                           Bank Name:              Flagstar Bank, N.A.
                                                                                                 Account:                ******4611 - Payroll and Operating Account
Taxpayer ID#:         **-***5343                                                                 Blanket Bond:           $0.00 (per case limit)
Period Ending:        07/31/23                                                                   Separate Bond:          N/A

   1             2                       3                                      4                                                 5                     6                 7

 Trans.    Check or                                                                                          Uniform           Receipts           Disbursements       Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                     $          Account Balance

07/02/23   200058     Le, Kim Long                       Dividend of 100.000%                               6950-000                                    3,485.42        397,184.84

07/02/23   200059     Lizarraga, Aaron                   Dividend of 100.000%                               6950-000                                    1,233.53        395,951.31

07/02/23   200060     Lucaci, Bradford                   Dividend of 100.000%                               6950-000                                    1,552.40        394,398.91

07/02/23   200061     Lucaci, Brian                      Dividend of 100.000%                               6950-000                                    1,864.05        392,534.86

07/02/23   200062     Mahmoud, Salma K                   Dividend of 100.000%                               6950-000                                    2,052.15        390,482.71

07/02/23   200063     Marquez, Kevin                     Dividend of 100.000%                               6950-000                                    1,485.04        388,997.67

07/02/23   200064     Martinez, Daniel                   Dividend of 100.000%                               6950-000                                    1,970.34        387,027.33

07/02/23   200065     Marza, Carmen                      Dividend of 100.000%                               6950-000                                    2,294.58        384,732.75

07/02/23   200066     Mendoza, Robert                    Dividend of 100.000%                               6950-000                                    1,568.28        383,164.47

07/02/23   200067     Meneses, Daisy                     Dividend of 100.000%                               6950-000                                    1,881.34        381,283.13

07/02/23   200068     Mojica-Wanly, Madelline            Dividend of 100.000%                               6950-000                                    3,756.39        377,526.74

07/02/23   200069     Morris, Nicole M                   Dividend of 100.000%                               6950-000                                    1,374.06        376,152.68

07/02/23   200070     Morrow, Jason                      Dividend of 100.000%                               6950-000                                    1,504.36        374,648.32

07/02/23   200071     Mossa, Nickolas                    Dividend of 100.000%                               6950-000                                    1,253.78        373,394.54

07/02/23   200072     Muttalib, Omran                    Dividend of 100.000%                               6950-000                                    1,450.41        371,944.13
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                                                      Cash Receipts and Disbursements Record
Case Number:          23-10571 SC                                                                Trustee:                Richard A. Marshack, Chapter 11 Trustee
Case Name:            The Litigation Practice Group PC                                           Bank Name:              Flagstar Bank, N.A.
                                                                                                 Account:                ******4611 - Payroll and Operating Account
Taxpayer ID#:         **-***5343                                                                 Blanket Bond:           $0.00 (per case limit)
Period Ending:        07/31/23                                                                   Separate Bond:          N/A

   1             2                       3                                      4                                                 5                     6                   7

 Trans.    Check or                                                                                          Uniform           Receipts           Disbursements         Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                     $            Account Balance

07/02/23   200073     Nguyen, Quoc Thinh                 Dividend of 100.000%                               6950-000                                    2,883.00          369,061.13

07/02/23   200074     Nguyen, Quynh                      Dividend of 100.000%                               6950-000                                    1,196.65          367,864.48

07/02/23   200075     O'Connell, Karen                   Dividend of 100.000%                               6950-000                                    1,444.97          366,419.51

07/02/23   200076     Obeid, Ayman                       Dividend of 100.000%                               6950-000                                    1,589.53          364,829.98

07/02/23   200077     Orellana, Daniel                   Dividend of 100.000%                               6950-000                                    1,391.45          363,438.53

07/02/23   200078     Oseguera, Jessenia                 Dividend of 100.000%                               6950-000                                    1,574.35          361,864.18

07/02/23   200079     Parada, Ivis                       Dividend of 100.000%                               6950-000                                    1,683.73          360,180.45

07/02/23   200080     Pena, Jessica                      Dividend of 100.000%                               6950-000                                        699.23        359,481.22

07/02/23   200081     Perez, Eduardo N                   Dividend of 100.000%                               6950-000                                    1,882.70          357,598.52

07/02/23   200082     Phan, Peyton                       Dividend of 100.000%                               6950-000                                    2,090.95          355,507.57

07/02/23   200083     Pierce, Samuel B                   Dividend of 100.000%                               6950-000                                    1,514.18          353,993.39

07/02/23   200084     Ramirez, Jolanta                   Dividend of 100.000%                               6950-000                                    2,346.68          351,646.71

07/02/23   200085     Rashed, Sami                       Dividend of 100.000%                               6950-000                                    1,982.93          349,663.78

07/02/23   200086     Refa, Rozita                       Dividend of 100.000%                               6950-000                                    1,380.41          348,283.37

07/02/23   200087     Reynoso-Banuelos, Stephanie        Dividend of 100.000%                               6950-000                                        860.62        347,422.75
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                                                       Cash Receipts and Disbursements Record
Case Number:          23-10571 SC                                                                 Trustee:                Richard A. Marshack, Chapter 11 Trustee
Case Name:            The Litigation Practice Group PC                                            Bank Name:              Flagstar Bank, N.A.
                                                                                                  Account:                ******4611 - Payroll and Operating Account
Taxpayer ID#:         **-***5343                                                                  Blanket Bond:           $0.00 (per case limit)
Period Ending:        07/31/23                                                                    Separate Bond:          N/A

   1             2                      3                                        4                                                 5                     6                   7

 Trans.    Check or                                                                                           Uniform           Receipts           Disbursements         Checking
  Date      Ref. #           Paid To / Received From                 Description of Transaction              Tran. Code            $                     $            Account Balance

07/02/23   200088     Riano, Elioenai                     Dividend of 100.000%                               6950-000                                    1,747.25          345,675.50

07/02/23   200089     Rico, David                         Dividend of 100.000%                               6950-000                                    1,291.95          344,383.55

07/02/23   200090     Rios, Kimberly                      Dividend of 100.000%                               6950-000                                    1,612.53          342,771.02

07/02/23   200091     Romero, Belem                       Dividend of 100.000%                               6950-000                                    1,826.93          340,944.09

07/02/23   200092     Ross, Sarah                         Dividend of 100.000%                               6950-000                                    1,374.35          339,569.74

07/02/23   200093     Saldana-Lopez, Karen                Dividend of 100.000%                               6950-000                                    1,390.94          338,178.80

07/02/23   200094     Sanchez, Abraham                    Dividend of 100.000%                               6950-000                                    1,467.26          336,711.54

07/02/23   200095     Sanchez, Jaslynn                    Dividend of 100.000%                               6950-000                                    1,570.33          335,141.21

07/02/23   200096     Sanchez, Jorge                      Dividend of 100.000%                               6950-000                                    1,752.87          333,388.34

07/02/23   200097     Sanchez, Miguel                     Dividend of 100.000%                               6950-000                                    1,436.06          331,952.28

07/02/23   200098     Sangalang, Christian                Dividend of 100.000%                               6950-000                                    1,918.37          330,033.91

07/02/23   200099     Segura, Kandise                     Dividend of 100.000%                               6950-000                                    1,319.91          328,714.00

07/02/23   200100     Shariff, Humza                      Dividend of 100.000%                               6950-000                                        699.24        328,014.76

07/02/23   200101     Sharifi Narani, Kian                Dividend of 100.000%                               6950-000                                    1,654.02          326,360.74

07/02/23   200102     Stephens, Amanda                    Dividend of 100.000%                               6950-000                                    2,089.30          324,271.44
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                                                      Cash Receipts and Disbursements Record
Case Number:          23-10571 SC                                                                Trustee:                Richard A. Marshack, Chapter 11 Trustee
Case Name:            The Litigation Practice Group PC                                           Bank Name:              Flagstar Bank, N.A.
                                                                                                 Account:                ******4611 - Payroll and Operating Account
Taxpayer ID#:         **-***5343                                                                 Blanket Bond:           $0.00 (per case limit)
Period Ending:        07/31/23                                                                   Separate Bond:          N/A

   1             2                       3                                      4                                                 5                     6                  7

 Trans.    Check or                                                                                          Uniform           Receipts           Disbursements        Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                     $           Account Balance

07/02/23   200103     Tabatabaii Nejad, Seyed Amirreza Dividend of 100.000%                                 6950-000                                    1,867.68         322,403.76

07/02/23   200104     Taing, Selina K                    Dividend of 100.000%                               6950-000                                    1,974.69         320,429.07

07/02/23   200105     Tan, Maria                         Dividend of 100.000%                               6950-000                                    5,453.30         314,975.77

07/02/23   200106     Torres, Kimberly                   Dividend of 100.000%                               6950-000                                    1,196.88         313,778.89

07/02/23   200107     Vaughan, Jarod R                   Dividend of 100.000%                               6950-000                                    1,838.85         311,940.04

07/02/23   200108     Vazquez, Cindy                     Dividend of 100.000%                               6950-000                                    1,414.82         310,525.22

07/02/23   200109     Zargaran, Hanieh                   Dividend of 100.000%                               6950-000                                    2,021.31         308,503.91

07/02/23   200110     Zin, Reham E                       Dividend of 100.000%                               6950-000                                    1,442.65         307,061.26

07/02/23   200111     Zinchini, Max                      Dividend of 100.000%                               6950-000                                        93.77        306,967.49

07/05/23   200112     Liberty Acquisitions Group         REISSUED TO IOLTA Refund of overpayment            1290-003              -9,663.98                              297,303.51
                                                         per order 7-3-23 DK 168; Voided on
                                                         07/12/2023

07/05/23   200113     Dinsmore & Shohl LLP               Reimburse Google Services invoice billing ID       6990-000                                    7,954.02         289,349.49
                                                         4074-8361-6958 - June and July per order
                                                         6/22/23

07/06/23              To Account# XXXXXX4344             6/16 and 6/30 pay dates                            9999-000                                  180,000.00         109,349.49

07/06/23   200114     Zoom Video Communications Inc. MAVERICK Invoice 196200030 - 4/4/23; due               2690-000                                    4,406.16         104,943.33
                                                     5/4/23; this is a quarterly payment
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                                                      Cash Receipts and Disbursements Record
Case Number:          23-10571 SC                                                                 Trustee:                Richard A. Marshack, Chapter 11 Trustee
Case Name:            The Litigation Practice Group PC                                            Bank Name:              Flagstar Bank, N.A.
                                                                                                  Account:                ******4611 - Payroll and Operating Account
Taxpayer ID#:         **-***5343                                                                  Blanket Bond:           $0.00 (per case limit)
Period Ending:        07/31/23                                                                    Separate Bond:          N/A

   1             2                     3                                         4                                                 5                     6                   7

 Trans.    Check or                                                                                           Uniform           Receipts           Disbursements         Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                     $            Account Balance

07/07/23   200115     Bicher & Associates                May and June 2023 - 80% of agent fees per           6700-000                                   12,302.40           92,640.93
                                                         order 6/29/23

07/07/23   200116     Bicher & Associates                May and June 2023 Expenses per order                6710-000                                        836.17         91,804.76
                                                         6/29/23

07/07/23   200117     International Sureties, LTD        Bond #016239386, premium 5/8/23 to 5/8/24           6950-000                                   10,045.00           81,759.76

07/11/23   200118     Boldsign                           VOID WIRE sent instead of check POA                 6990-003                                    6,528.00           75,231.76
                                                         signature platform; Voided on 07/12/2023

07/11/23   200119     Law Offices of Ronald Richard &    Refund of overpayment per order 7-3-23 DK           1290-000              -9,663.98                                65,567.78
                      Associates APC, Attorney Client    168
                      Trust Account
07/12/23   200112     Liberty Acquisitions Group         REISSUED TO IOLTA Refund of overpayment 1290-003                           9,663.98                                75,231.76
                                                         per order 7-3-23 DK 168; Voided: Check issued
                                                         on 07/05/2023

07/12/23   200118     Boldsign                           VOID WIRE sent instead of check POA                 6990-003                                    -6,528.00          81,759.76
                                                         signature platform; Voided: Check issued on
                                                         07/11/2023

07/13/23              To Account# XXXXXX9960             Syncfusion invoice should have been paid from       9999-000                                    6,528.00           75,231.76
                                                         operating account (not general checking);

07/17/23              Resolution Ventures                Balance of $500,000 super priority loan             1229-000            250,336.02                                325,567.78

07/19/23              To Account# XXXXXX4344             for 7/14/23 payroll                                 9999-000                                   75,000.00          250,567.78

07/19/23   200120     Acevedo, Emely                     Dividend of 100.000%                                6950-000                                    1,282.95          249,284.83
                           Case 8:23-bk-10571-SC            Doc 541-2 Filed 09/26/23 Entered 09/26/23 17:06:01                                    Desc
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                                                      Cash Receipts and Disbursements Record
Case Number:          23-10571 SC                                                                Trustee:                Richard A. Marshack, Chapter 11 Trustee
Case Name:            The Litigation Practice Group PC                                           Bank Name:              Flagstar Bank, N.A.
                                                                                                 Account:                ******4611 - Payroll and Operating Account
Taxpayer ID#:         **-***5343                                                                 Blanket Bond:           $0.00 (per case limit)
Period Ending:        07/31/23                                                                   Separate Bond:          N/A

   1             2                       3                                      4                                                 5                     6                   7

 Trans.    Check or                                                                                          Uniform           Receipts           Disbursements         Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                     $            Account Balance

07/19/23   200121     Alshawosh, Ali                     Dividend of 100.000%                               6950-000                                    1,846.08          247,438.75

07/19/23   200122     Alvarenga, Andre                   Dividend of 100.000%                               6950-000                                    1,910.95          245,527.80

07/19/23   200123     Alvarez, Josue A                   Dividend of 100.000%                               6950-000                                    1,193.21          244,334.59

07/19/23   200124     Amezcua, Jasmin                    Dividend of 100.000%                               6950-000                                    1,242.00          243,092.59

07/19/23   200125     Andra, James                       Dividend of 100.000%                               6950-000                                    1,420.61          241,671.98

07/19/23   200126     Andra, Jennifer                    Dividend of 100.000%                               6950-000                                    1,686.51          239,985.47

07/19/23   200127     Andra, Justin                      Dividend of 100.000%                               6950-000                                    1,559.22          238,426.25

07/19/23   200128     Anthony Sanchez                    Dividend of 100.000%                               6950-000                                        681.53        237,744.72

07/19/23   200129     Apodaca, Ronald                    Dividend of 100.000%                               6950-000                                        985.64        236,759.08

07/19/23   200130     Aranda Leon, Salma                 Dividend of 100.000%                               6950-000                                    1,782.98          234,976.10

07/19/23   200131     Avina-Cardiel, Alejandro           Dividend of 100.000%                               6950-000                                    1,574.72          233,401.38

07/19/23   200132     Avina-Cardiel, Isaura              Dividend of 100.000%                               6950-000                                    2,068.93          231,332.45

07/19/23   200133     Bany-Mohammed, Mahmoud             Dividend of 100.000%                               6950-000                                        779.08        230,553.37

07/19/23   200134     Barraza, Jackelyne                 Dividend of 100.000%                               6950-000                                    1,395.66          229,157.71

07/19/23   200135     Base, Anthony G                    Dividend of 100.000%                               6950-000                                    2,113.40          227,044.31
                           Case 8:23-bk-10571-SC            Doc 541-2 Filed 09/26/23 Entered 09/26/23 17:06:01                                    Desc
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                                                      Cash Receipts and Disbursements Record
Case Number:          23-10571 SC                                                                Trustee:                Richard A. Marshack, Chapter 11 Trustee
Case Name:            The Litigation Practice Group PC                                           Bank Name:              Flagstar Bank, N.A.
                                                                                                 Account:                ******4611 - Payroll and Operating Account
Taxpayer ID#:         **-***5343                                                                 Blanket Bond:           $0.00 (per case limit)
Period Ending:        07/31/23                                                                   Separate Bond:          N/A

   1             2                      3                                       4                                                 5                     6                   7

 Trans.    Check or                                                                                          Uniform           Receipts           Disbursements         Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                     $            Account Balance

07/19/23   200136     Beltran, Melina                    Dividend of 100.000%                               6950-000                                    3,006.57          224,037.74

07/19/23   200137     Bishop, Brant                      Dividend of 100.000%                               6950-000                                    1,814.13          222,223.61

07/19/23   200138     Bonilla Figueroa, Halima           Dividend of 100.000%                               6950-000                                    2,519.38          219,704.23

07/19/23   200139     Bravo Aranda, Karla                Dividend of 100.000%                               6950-000                                    2,264.12          217,440.11

07/19/23   200140     Calunod, Archerie                  Dividend of 100.000%                               6950-000                                    1,371.44          216,068.67

07/19/23   200141     Campuzano, Kaitlyn G               Dividend of 100.000%                               6950-000                                    2,200.74          213,867.93

07/19/23   200142     Carss, William                     Dividend of 100.000%                               6950-000                                    6,550.21          207,317.72

07/19/23   200143     Cast, Jason                        Dividend of 100.000%                               6950-000                                    1,460.67          205,857.05

07/19/23   200144     Ceballos, Kevin                    Dividend of 100.000%                               6950-000                                    1,953.98          203,903.07

07/19/23   200145     Chea, Justin                       Dividend of 100.000%                               6950-000                                        977.42        202,925.65

07/19/23   200146     Chen, Irwin T                      Dividend of 100.000%                               6950-000                                    2,096.17          200,829.48

07/19/23   200147     Cole, Christopher                  Dividend of 100.000%                               6950-000                                    1,937.14          198,892.34

07/19/23   200148     Dang, Victoria                     Dividend of 100.000%                               6950-000                                    1,795.82          197,096.52

07/19/23   200149     Delaura, Brandon                   Dividend of 100.000%                               6950-000                                    1,444.27          195,652.25

07/19/23   200150     Diab, Nassir                       Dividend of 100.000%                               6950-000                                    1,694.59          193,957.66
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                                                       Cash Receipts and Disbursements Record
Case Number:          23-10571 SC                                                                 Trustee:                Richard A. Marshack, Chapter 11 Trustee
Case Name:            The Litigation Practice Group PC                                            Bank Name:              Flagstar Bank, N.A.
                                                                                                  Account:                ******4611 - Payroll and Operating Account
Taxpayer ID#:         **-***5343                                                                  Blanket Bond:           $0.00 (per case limit)
Period Ending:        07/31/23                                                                    Separate Bond:          N/A

   1             2                      3                                        4                                                 5                     6                   7

 Trans.    Check or                                                                                           Uniform           Receipts           Disbursements         Checking
  Date      Ref. #           Paid To / Received From                 Description of Transaction              Tran. Code            $                     $            Account Balance

07/19/23   200151     Diament, Molly                      Dividend of 100.000%                               6950-000                                    1,511.76          192,445.90

07/19/23   200152     Duarte, Ambar                       Dividend of 100.000%                               6950-000                                        918.85        191,527.05

07/19/23   200153     Figueroa, Hiram                     Dividend of 100.000%                               6950-000                                    1,794.03          189,733.02

07/19/23   200154     Flores, Abrahm                      Dividend of 100.000%                               6950-000                                    1,421.89          188,311.13

07/19/23   200155     Garcia, Naazma                      Dividend of 100.000%                               6950-000                                    3,031.46          185,279.67

07/19/23   200156     Glass, Hunter                       Dividend of 100.000%                               6950-000                                    1,178.23          184,101.44

07/19/23   200157     Haliburton, Charles                 Dividend of 100.000%                               6950-000                                    1,526.24          182,575.20

07/19/23   200158     Harrison, Suzanne                   Dividend of 100.000%                               6950-000                                    2,446.13          180,129.07

07/19/23   200159     Harvey, Josey                       Dividend of 100.000%                               6950-000                                    1,698.60          178,430.47

07/19/23   200160     Hu. Keneth                          Dividend of 100.000%                               6950-000                                    6,164.68          172,265.79

07/19/23   200161     Huskisson, Connor                   Dividend of 100.000%                               6950-000                                    1,676.00          170,589.79

07/19/23   200162     Hwang, Joseph                       Dividend of 100.000%                               6950-000                                    1,929.69          168,660.10

07/19/23   200163     Ismail, Sabah                       Dividend of 100.000%                               6950-000                                    1,594.29          167,065.81

07/19/23   200164     Ismail, Saif                        Dividend of 100.000%                               6950-000                                    1,848.49          165,217.32

07/19/23   200165     Ismail, Salman                      Dividend of 100.000%                               6950-000                                    1,883.76          163,333.56
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                                                       Cash Receipts and Disbursements Record
Case Number:          23-10571 SC                                                                 Trustee:                Richard A. Marshack, Chapter 11 Trustee
Case Name:            The Litigation Practice Group PC                                            Bank Name:              Flagstar Bank, N.A.
                                                                                                  Account:                ******4611 - Payroll and Operating Account
Taxpayer ID#:         **-***5343                                                                  Blanket Bond:           $0.00 (per case limit)
Period Ending:        07/31/23                                                                    Separate Bond:          N/A

   1             2                       3                                       4                                                 5                     6                   7

 Trans.    Check or                                                                                           Uniform           Receipts           Disbursements         Checking
  Date      Ref. #           Paid To / Received From                 Description of Transaction              Tran. Code            $                     $            Account Balance

07/19/23   200166     Jones, Ashley T                     Dividend of 100.000%                               6950-000                                    1,261.99          162,071.57

07/19/23   200167     Joyner, Lauren                      Dividend of 100.000%                               6950-000                                    2,125.57          159,946.00

07/19/23   200168     Kerns, Phillip                      Dividend of 100.000%                               6950-000                                    1,639.01          158,306.99

07/19/23   200169     Khalil, Beshoy                      Dividend of 100.000%                               6950-000                                        933.16        157,373.83

07/19/23   200170     Khan, Golam T                       Dividend of 100.000%                               6950-000                                    2,014.74          155,359.09

07/19/23   200171     Khan, Sulaiman                      Dividend of 100.000%                               6950-000                                        830.07        154,529.02

07/19/23   200172     Kline, Erica                        Dividend of 100.000%                               6950-000                                    1,707.47          152,821.55

07/19/23   200173     Lahijani Nejad, Iman                Dividend of 100.000%                               6950-000                                    1,744.11          151,077.44

07/19/23   200174     Lakhant, Sufyaan                    Dividend of 100.000%                               6950-000                                    1,258.55          149,818.89

07/19/23   200175     Lam, Thi Thu                        Dividend of 100.000%                               6950-000                                    2,565.18          147,253.71

07/19/23   200176     Le, Christine                       Dividend of 100.000%                               6950-000                                    2,012.31          145,241.40

07/19/23   200177     Le, Kim Long                        Dividend of 100.000%                               6950-000                                    7,403.93          137,837.47

07/19/23   200178     Lizarraga, Aaron                    Dividend of 100.000%                               6950-000                                        744.87        137,092.60

07/19/23   200179     Lucaci, Bradford                    Dividend of 100.000%                               6950-000                                    1,424.25          135,668.35

07/19/23   200180     Lucaci, Brian                       Dividend of 100.000%                               6950-000                                    2,073.96          133,594.39
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                                                      Cash Receipts and Disbursements Record
Case Number:          23-10571 SC                                                                Trustee:                Richard A. Marshack, Chapter 11 Trustee
Case Name:            The Litigation Practice Group PC                                           Bank Name:              Flagstar Bank, N.A.
                                                                                                 Account:                ******4611 - Payroll and Operating Account
Taxpayer ID#:         **-***5343                                                                 Blanket Bond:           $0.00 (per case limit)
Period Ending:        07/31/23                                                                   Separate Bond:          N/A

   1             2                       3                                      4                                                 5                     6                   7

 Trans.    Check or                                                                                          Uniform           Receipts           Disbursements         Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                     $            Account Balance

07/19/23   200181     Mahmoud, Salma K                   Dividend of 100.000%                               6950-000                                    2,024.35          131,570.04

07/19/23   200182     Marquez, Kevin                     Dividend of 100.000%                               6950-000                                        976.29        130,593.75

07/19/23   200183     Martinez, Daniel                   Dividend of 100.000%                               6950-000                                    1,869.96          128,723.79

07/19/23   200184     Marza, Carmen                      Dividend of 100.000%                               6950-000                                    1,967.75          126,756.04

07/19/23   200185     Mendoza, Robert                    Dividend of 100.000%                               6950-000                                    1,465.41          125,290.63

07/19/23   200186     Meneses, Daisy                     Dividend of 100.000%                               6950-000                                    1,544.18          123,746.45

07/19/23   200187     Mojica-Wanly, Madelline            Dividend of 100.000%                               6950-000                                    4,275.52          119,470.93

07/19/23   200188     Morris, Nicole M                   Dividend of 100.000%                               6950-000                                    1,734.92          117,736.01

07/19/23   200189     Morrow, Jason                      Dividend of 100.000%                               6950-000                                    1,488.68          116,247.33

07/19/23   200190     Mossa, Nickolas                    Dividend of 100.000%                               6950-000                                    1,118.89          115,128.44

07/19/23   200191     Muttalib, Omran                    Dividend of 100.000%                               6950-000                                    1,310.82          113,817.62

07/19/23   200192     Nguyen, Quoc Thinh                 Dividend of 100.000%                               6950-000                                    3,373.70          110,443.92

07/19/23   200193     Nguyen, Quynh                      Dividend of 100.000%                               6950-000                                    1,604.78          108,839.14

07/19/23   200194     O'Connell, Karen                   Dividend of 100.000%                               6950-000                                    1,508.76          107,330.38

07/19/23   200195     Obeid, Ayman                       Dividend of 100.000%                               6950-000                                    1,433.08          105,897.30
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                                                      Cash Receipts and Disbursements Record
Case Number:          23-10571 SC                                                                Trustee:                Richard A. Marshack, Chapter 11 Trustee
Case Name:            The Litigation Practice Group PC                                           Bank Name:              Flagstar Bank, N.A.
                                                                                                 Account:                ******4611 - Payroll and Operating Account
Taxpayer ID#:         **-***5343                                                                 Blanket Bond:           $0.00 (per case limit)
Period Ending:        07/31/23                                                                   Separate Bond:          N/A

   1             2                       3                                      4                                                 5                     6                 7

 Trans.    Check or                                                                                          Uniform           Receipts           Disbursements       Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                     $          Account Balance

07/19/23   200196     Orellana, Daniel                   Dividend of 100.000%                               6950-000                                    1,447.56        104,449.74

07/19/23   200197     Oseguera, Jessenia                 Dividend of 100.000%                               6950-000                                    1,368.52        103,081.22

07/19/23   200198     Parada, Ivis                       Dividend of 100.000%                               6950-000                                    1,675.85        101,405.37

07/19/23   200199     Pena, Jessica                      Dividend of 100.000%                               6950-000                                    1,463.23         99,942.14

07/19/23   200200     Perez, Eduardo N                   Dividend of 100.000%                               6950-000                                    2,098.78         97,843.36

07/19/23   200201     Phan, Peyton                       Dividend of 100.000%                               6950-000                                    2,450.45         95,392.91

07/19/23   200202     Pierce, Samuel B                   Dividend of 100.000%                               6950-000                                    1,633.63         93,759.28

07/19/23   200203     Ramirez, Jolanta                   Dividend of 100.000%                               6950-000                                    2,645.68         91,113.60

07/19/23   200204     Rashed, Sami                       Dividend of 100.000%                               6950-000                                    2,310.84         88,802.76

07/19/23   200205     Refa, Rozita                       Dividend of 100.000%                               6950-000                                    1,482.53         87,320.23

07/19/23   200206     Reynoso-Banuelos, Stephanie        Dividend of 100.000%                               6950-000                                    1,577.00         85,743.23

07/19/23   200207     Riano, Elioenai                    Dividend of 100.000%                               6950-000                                    2,060.03         83,683.20

07/19/23   200208     Rico, David                        Dividend of 100.000%                               6950-000                                    1,294.28         82,388.92

07/19/23   200209     Rios, Kimberly                     Dividend of 100.000%                               6950-000                                    1,886.50         80,502.42

07/19/23   200210     Romero, Belem                      Dividend of 100.000%                               6950-000                                    1,469.27         79,033.15
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                                                       Cash Receipts and Disbursements Record
Case Number:          23-10571 SC                                                                 Trustee:                Richard A. Marshack, Chapter 11 Trustee
Case Name:            The Litigation Practice Group PC                                            Bank Name:              Flagstar Bank, N.A.
                                                                                                  Account:                ******4611 - Payroll and Operating Account
Taxpayer ID#:         **-***5343                                                                  Blanket Bond:           $0.00 (per case limit)
Period Ending:        07/31/23                                                                    Separate Bond:          N/A

   1             2                       3                                       4                                                 5                     6                   7

 Trans.    Check or                                                                                           Uniform           Receipts           Disbursements         Checking
  Date      Ref. #           Paid To / Received From                 Description of Transaction              Tran. Code            $                     $            Account Balance

07/19/23   200211     Ross, Sarah                         Dividend of 100.000%                               6950-000                                    1,296.00           77,737.15

07/19/23   200212     Saldana-Lopez, Karen                Dividend of 100.000%                               6950-000                                    1,505.84           76,231.31

07/19/23   200213     Sanchez, Abraham                    Dividend of 100.000%                               6950-000                                    1,568.62           74,662.69

07/19/23   200214     Sanchez, Jaslynn                    Dividend of 100.000%                               6950-000                                    1,548.59           73,114.10

07/19/23   200215     Sanchez, Jorge                      Dividend of 100.000%                               6950-000                                    1,650.34           71,463.76

07/19/23   200216     Sanchez, Miguel                     Dividend of 100.000%                               6950-000                                    1,560.09           69,903.67

07/19/23   200217     Sangalang, Christian                Dividend of 100.000%                               6950-000                                    1,539.35           68,364.32

07/19/23   200218     Segura, Kandise                     Dividend of 100.000%                               6950-000                                    1,008.30           67,356.02

07/19/23   200219     Shariff, Humza                      Dividend of 100.000%                               6950-000                                        431.19         66,924.83

07/19/23   200220     Sharifi Narani, Kian                Dividend of 100.000%                               6950-000                                    1,767.88           65,156.95

07/19/23   200221     Stephens, Amanda                    Dividend of 100.000%                               6950-000                                    2,043.52           63,113.43

07/19/23   200222     Tabatabaii Nejad, Seyed Amirreza Dividend of 100.000%                                  6950-000                                    1,743.36           61,370.07

07/19/23   200223     Taing, Selina K                     Dividend of 100.000%                               6950-000                                    1,940.00           59,430.07

07/19/23   200224     Tan, Maria                          Dividend of 100.000%                               6950-000                                    5,453.30           53,976.77

07/19/23   200225     Torres, Kimberly                    Dividend of 100.000%                               6950-000                                        746.14         53,230.63
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                                                      Cash Receipts and Disbursements Record
Case Number:          23-10571 SC                                                                Trustee:                Richard A. Marshack, Chapter 11 Trustee
Case Name:            The Litigation Practice Group PC                                           Bank Name:              Flagstar Bank, N.A.
                                                                                                 Account:                ******4611 - Payroll and Operating Account
Taxpayer ID#:         **-***5343                                                                 Blanket Bond:           $0.00 (per case limit)
Period Ending:        07/31/23                                                                   Separate Bond:          N/A

   1             2                     3                                        4                                                 5                     6                  7

 Trans.    Check or                                                                                          Uniform           Receipts           Disbursements        Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                     $           Account Balance

07/19/23   200226     Vaughan, Jarod R                   Dividend of 100.000%                               6950-000                                    1,232.34          51,998.29

07/19/23   200227     Vazquez, Cindy                     Dividend of 100.000%                               6950-000                                    1,364.09          50,634.20

07/19/23   200228     Zargaran, Hanieh                   Dividend of 100.000%                               6950-000                                    2,391.84          48,242.36

07/19/23   200229     Zin, Reham E                       Dividend of 100.000%                               6950-000                                    1,712.43          46,529.93

07/19/23   200230     Zinchini, Max                      Dividend of 100.000%                               6950-000                                    1,282.58          45,247.35

07/20/23              PanAmerican Consulting             Loan proceeds     1 7000 90001 0802                1229-000            249,663.98                               294,911.33
                                                         249663.98 CR INCOMING WIRE
                                                              REF#
                                                         20230720B6B7261F00195807201320FT03
                                                          0000004656
                                                              FROM: PANAMERICAN CONSULTING,
                                                         LLC      ABA: 021000021


07/20/23              BENSAMOCHAN LAW FIRM, INC Incoming wire                                               1290-000            750,000.00                             1,044,911.33

07/26/23              RESOLUTION VENTURES LLC            Incoming wire                                      1290-000            250,000.00                             1,294,911.33

07/26/23   200231     Benefit Resource, LLC              COBRA - minimum charge for June 2023;              6950-000                                        75.00      1,294,836.33
                                                         Invoice 966275

07/27/23              RESOLUTION VENTURES LLC            Incoming wire                                      1290-000              66,000.00                            1,360,836.33

07/27/23              To Account# XXXXXX3526             BENSOMOCHAN sale proceeds                          9999-000                                  999,663.98         361,172.35

07/27/23   200232     Acevedo, Emely                     Dividend of 100.000%                               6950-000                                    1,294.07         359,878.28
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                                                      Cash Receipts and Disbursements Record
Case Number:          23-10571 SC                                                                Trustee:                Richard A. Marshack, Chapter 11 Trustee
Case Name:            The Litigation Practice Group PC                                           Bank Name:              Flagstar Bank, N.A.
                                                                                                 Account:                ******4611 - Payroll and Operating Account
Taxpayer ID#:         **-***5343                                                                 Blanket Bond:           $0.00 (per case limit)
Period Ending:        07/31/23                                                                   Separate Bond:          N/A

   1             2                       3                                      4                                                 5                     6                 7

 Trans.    Check or                                                                                          Uniform           Receipts           Disbursements       Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                     $          Account Balance

07/27/23   200233     Alshawosh, Ali                     Dividend of 100.000%                               6950-000                                    1,773.44        358,104.84

07/27/23   200234     Alvarenga, Andre                   Dividend of 100.000%                               6950-000                                    1,702.54        356,402.30

07/27/23   200235     Alvarez, Josue A                   Dividend of 100.000%                               6950-000                                    1,239.34        355,162.96

07/27/23   200236     Amezcua, Jasmin                    Dividend of 100.000%                               6950-000                                    1,041.90        354,121.06

07/27/23   200237     Andra, James                       Dividend of 100.000%                               6950-000                                    1,302.99        352,818.07

07/27/23   200238     Andra, Jennifer                    Dividend of 100.000%                               6950-000                                    1,662.77        351,155.30

07/27/23   200239     Andra, Justin                      Dividend of 100.000%                               6950-000                                    1,424.25        349,731.05

07/27/23   200240     Apodaca, Ronald                    Dividend of 100.000%                               6950-000                                    1,343.96        348,387.09

07/27/23   200241     Aranda Leon, Salma                 Dividend of 100.000%                               6950-000                                    1,639.23        346,747.86

07/27/23   200242     Avina-Cardiel, Alejandro           Dividend of 100.000%                               6950-000                                    1,598.26        345,149.60

07/27/23   200243     Avina-Cardiel, Isaura              Dividend of 100.000%                               6950-000                                    1,787.46        343,362.14

07/27/23   200244     Bany-Mohammed, Mahmoud             Dividend of 100.000%                               6950-000                                    1,657.37        341,704.77

07/27/23   200245     Barraza, Jackelyne                 Dividend of 100.000%                               6950-000                                    1,312.05        340,392.72

07/27/23   200246     Base, Anthony G                    Dividend of 100.000%                               6950-000                                    3,012.49        337,380.23

07/27/23   200247     Bishop, Brant                      Dividend of 100.000%                               6950-000                                    1,730.10        335,650.13
                           Case 8:23-bk-10571-SC            Doc 541-2 Filed 09/26/23 Entered 09/26/23 17:06:01                                    Desc
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                                                      Cash Receipts and Disbursements Record
Case Number:          23-10571 SC                                                                Trustee:                Richard A. Marshack, Chapter 11 Trustee
Case Name:            The Litigation Practice Group PC                                           Bank Name:              Flagstar Bank, N.A.
                                                                                                 Account:                ******4611 - Payroll and Operating Account
Taxpayer ID#:         **-***5343                                                                 Blanket Bond:           $0.00 (per case limit)
Period Ending:        07/31/23                                                                   Separate Bond:          N/A

   1             2                      3                                       4                                                 5                     6                   7

 Trans.    Check or                                                                                          Uniform           Receipts           Disbursements         Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                     $            Account Balance

07/27/23   200248     Bravo Aranda, Karla                Dividend of 100.000%                               6950-000                                    2,133.67          333,516.46

07/27/23   200249     Calunod, Archerie                  Dividend of 100.000%                               6950-000                                    1,599.09          331,917.37

07/27/23   200250     Campuzano, Kaitlyn G               Dividend of 100.000%                               6950-000                                    1,960.69          329,956.68

07/27/23   200251     Carss, William                     Dividend of 100.000%                               6950-000                                    6,256.64          323,700.04

07/27/23   200252     Cast, Jason                        Dividend of 100.000%                               6950-000                                    1,634.79          322,065.25

07/27/23   200253     Ceballos, Kevin                    Dividend of 100.000%                               6950-000                                    2,177.33          319,887.92

07/27/23   200254     Chea, Justin                       Dividend of 100.000%                               6950-000                                        409.70        319,478.22

07/27/23   200255     Cole, Christopher                  Dividend of 100.000%                               6950-000                                    1,834.59          317,643.63

07/27/23   200256     Dang, Victoria                     Dividend of 100.000%                               6950-000                                    2,358.54          315,285.09

07/27/23   200257     Delaura, Brandon                   Dividend of 100.000%                               6950-000                                    1,173.19          314,111.90

07/27/23   200258     Diab, Nassir                       Dividend of 100.000%                               6950-000                                    1,567.82          312,544.08

07/27/23   200259     Diament, Molly                     Dividend of 100.000%                               6950-000                                    1,549.36          310,994.72

07/27/23   200260     Figueroa, Hiram                    Dividend of 100.000%                               6950-000                                    2,691.04          308,303.68

07/27/23   200261     Flores, Abrahm                     Dividend of 100.000%                               6950-000                                    1,146.28          307,157.40

07/27/23   200262     Garcia, Naazma                     Dividend of 100.000%                               6950-000                                    2,825.98          304,331.42
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                                                       Cash Receipts and Disbursements Record
Case Number:          23-10571 SC                                                                 Trustee:                Richard A. Marshack, Chapter 11 Trustee
Case Name:            The Litigation Practice Group PC                                            Bank Name:              Flagstar Bank, N.A.
                                                                                                  Account:                ******4611 - Payroll and Operating Account
Taxpayer ID#:         **-***5343                                                                  Blanket Bond:           $0.00 (per case limit)
Period Ending:        07/31/23                                                                    Separate Bond:          N/A

   1             2                      3                                        4                                                 5                     6                   7

 Trans.    Check or                                                                                           Uniform           Receipts           Disbursements         Checking
  Date      Ref. #           Paid To / Received From                 Description of Transaction              Tran. Code            $                     $            Account Balance

07/27/23   200263     Glass, Hunter                       Dividend of 100.000%                               6950-000                                    1,877.09          302,454.33

07/27/23   200264     Haliburton, Charles                 Dividend of 100.000%                               6950-000                                    1,601.27          300,853.06

07/27/23   200265     Harrison, Suzanne                   Dividend of 100.000%                               6950-000                                    2,446.13          298,406.93

07/27/23   200266     Harvey, Josey                       Dividend of 100.000%                               6950-000                                    1,456.63          296,950.30

07/27/23   200267     Hu. Keneth                          Dividend of 100.000%                               6950-000                                    6,164.68          290,785.62

07/27/23   200268     Huskisson, Connor                   Dividend of 100.000%                               6950-000                                    1,715.35          289,070.27

07/27/23   200269     Ismail, Sabah                       Dividend of 100.000%                               6950-000                                    1,207.13          287,863.14

07/27/23   200270     Ismail, Saif                        Dividend of 100.000%                               6950-000                                    1,871.91          285,991.23

07/27/23   200271     Ismail, Salman                      Dividend of 100.000%                               6950-000                                    1,440.90          284,550.33

07/27/23   200272     Jones, Ashley T                     Dividend of 100.000%                               6950-000                                    1,261.98          283,288.35

07/27/23   200273     Joyner, Lauren                      Dividend of 100.000%                               6950-000                                    2,004.32          281,284.03

07/27/23   200274     Kerns, Phillip                      Dividend of 100.000%                               6950-000                                        971.12        280,312.91

07/27/23   200275     Khalil, Beshoy                      Dividend of 100.000%                               6950-000                                        689.65        279,623.26

07/27/23   200276     Khan, Golam T                       Dividend of 100.000%                               6950-000                                    1,938.83          277,684.43

07/27/23   200277     Kline, Erica                        Dividend of 100.000%                               6950-000                                    1,452.54          276,231.89
                           Case 8:23-bk-10571-SC            Doc 541-2 Filed 09/26/23 Entered 09/26/23 17:06:01                                    Desc
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                                                      Cash Receipts and Disbursements Record
Case Number:          23-10571 SC                                                                Trustee:                Richard A. Marshack, Chapter 11 Trustee
Case Name:            The Litigation Practice Group PC                                           Bank Name:              Flagstar Bank, N.A.
                                                                                                 Account:                ******4611 - Payroll and Operating Account
Taxpayer ID#:         **-***5343                                                                 Blanket Bond:           $0.00 (per case limit)
Period Ending:        07/31/23                                                                   Separate Bond:          N/A

   1             2                       3                                      4                                                 5                     6                   7

 Trans.    Check or                                                                                          Uniform           Receipts           Disbursements         Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                     $            Account Balance

07/27/23   200278     Lahijani Nejad, Iman               Dividend of 100.000%                               6950-000                                    1,773.54          274,458.35

07/27/23   200279     Lakhant, Sufyaan                   Dividend of 100.000%                               6950-000                                        854.39        273,603.96

07/27/23   200280     Lam, Thi Thu                       Dividend of 100.000%                               6950-000                                    2,565.18          271,038.78

07/27/23   200281     Le, Christine                      Dividend of 100.000%                               6950-000                                    1,746.60          269,292.18

07/27/23   200282     Le, Kim Long                       Dividend of 100.000%                               6950-000                                    5,444.68          263,847.50

07/27/23   200283     Lucaci, Bradford                   Dividend of 100.000%                               6950-000                                    1,876.93          261,970.57

07/27/23   200284     Lucaci, Brian                      Dividend of 100.000%                               6950-000                                    1,048.30          260,922.27

07/27/23   200285     Mahmoud, Salma K                   Dividend of 100.000%                               6950-000                                    2,333.95          258,588.32

07/27/23   200286     Marquez, Kevin                     Dividend of 100.000%                               6950-000                                    1,943.33          256,644.99

07/27/23   200287     Martinez, Daniel                   Dividend of 100.000%                               6950-000                                    1,629.20          255,015.79

07/27/23   200288     Marza, Carmen                      Dividend of 100.000%                               6950-000                                    1,967.75          253,048.04

07/27/23   200289     Mendoza, Robert                    Dividend of 100.000%                               6950-000                                    1,217.21          251,830.83

07/27/23   200290     Meneses, Daisy                     Dividend of 100.000%                               6950-000                                    2,236.02          249,594.81

07/27/23   200291     Mojica-Wanly, Madelline            Dividend of 100.000%                               6950-000                                    4,265.52          245,329.29

07/27/23   200292     Morris, Nicole M                   Dividend of 100.000%                               6950-000                                    1,805.89          243,523.40
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                                                      Cash Receipts and Disbursements Record
Case Number:          23-10571 SC                                                                Trustee:                Richard A. Marshack, Chapter 11 Trustee
Case Name:            The Litigation Practice Group PC                                           Bank Name:              Flagstar Bank, N.A.
                                                                                                 Account:                ******4611 - Payroll and Operating Account
Taxpayer ID#:         **-***5343                                                                 Blanket Bond:           $0.00 (per case limit)
Period Ending:        07/31/23                                                                   Separate Bond:          N/A

   1             2                       3                                      4                                                 5                     6                   7

 Trans.    Check or                                                                                          Uniform           Receipts           Disbursements         Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                     $            Account Balance

07/27/23   200293     Morrow, Jason                      Dividend of 100.000%                               6950-000                                    1,742.50          241,780.90

07/27/23   200294     Mossa, Nickolas                    Dividend of 100.000%                               6950-000                                    1,271.99          240,508.91

07/27/23   200295     Muttalib, Omran                    Dividend of 100.000%                               6950-000                                    1,094.03          239,414.88

07/27/23   200296     Nguyen, Quoc Thinh                 Dividend of 100.000%                               6950-000                                    3,373.71          236,041.17

07/27/23   200297     Nguyen, Quynh                      Dividend of 100.000%                               6950-000                                    1,496.77          234,544.40

07/27/23   200298     O'Connell, Karen                   Dividend of 100.000%                               6950-000                                    1,528.42          233,015.98

07/27/23   200299     Obeid, Ayman                       Dividend of 100.000%                               6950-000                                    1,557.92          231,458.06

07/27/23   200300     Orellana, Daniel                   Dividend of 100.000%                               6950-000                                    1,743.83          229,714.23

07/27/23   200301     Oseguera, Jessenia                 Dividend of 100.000%                               6950-000                                    1,234.82          228,479.41

07/27/23   200302     Parada, Ivis                       Dividend of 100.000%                               6950-000                                    1,315.72          227,163.69

07/27/23   200303     Pena, Jessica                      Dividend of 100.000%                               6950-000                                        228.26        226,935.43

07/27/23   200304     Perez, Eduardo N                   Dividend of 100.000%                               6950-000                                    2,138.33          224,797.10

07/27/23   200305     Phan, Peyton                       Dividend of 100.000%                               6950-000                                    2,270.23          222,526.87

07/27/23   200306     Pierce, Samuel B                   Dividend of 100.000%                               6950-000                                        746.67        221,780.20

07/27/23   200307     Ramirez, Jolanta                   Dividend of 100.000%                               6950-000                                    2,496.18          219,284.02
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                                                       Cash Receipts and Disbursements Record
Case Number:          23-10571 SC                                                                 Trustee:                Richard A. Marshack, Chapter 11 Trustee
Case Name:            The Litigation Practice Group PC                                            Bank Name:              Flagstar Bank, N.A.
                                                                                                  Account:                ******4611 - Payroll and Operating Account
Taxpayer ID#:         **-***5343                                                                  Blanket Bond:           $0.00 (per case limit)
Period Ending:        07/31/23                                                                    Separate Bond:          N/A

   1             2                      3                                        4                                                 5                     6                   7

 Trans.    Check or                                                                                           Uniform           Receipts           Disbursements         Checking
  Date      Ref. #           Paid To / Received From                 Description of Transaction              Tran. Code            $                     $            Account Balance

07/27/23   200308     Rashed, Sami                        Dividend of 100.000%                               6950-000                                    2,146.88          217,137.14

07/27/23   200309     Refa, Rozita                        Dividend of 100.000%                               6950-000                                    1,348.48          215,788.66

07/27/23   200310     Reynoso-Banuelos, Stephanie         Dividend of 100.000%                               6950-000                                    1,015.32          214,773.34

07/27/23   200311     Rico, David                         Dividend of 100.000%                               6950-000                                    1,017.57          213,755.77

07/27/23   200312     Rios, Kimberly                      Dividend of 100.000%                               6950-000                                    1,731.43          212,024.34

07/27/23   200313     Romero, Belem                       Dividend of 100.000%                               6950-000                                    1,624.09          210,400.25

07/27/23   200314     Ross, Sarah                         Dividend of 100.000%                               6950-000                                        884.45        209,515.80

07/27/23   200315     Sanchez, Abraham                    Dividend of 100.000%                               6950-000                                    1,492.39          208,023.41

07/27/23   200316     Sanchez, Jaslynn                    Dividend of 100.000%                               6950-000                                        943.19        207,080.22

07/27/23   200317     Sanchez, Jorge                      Dividend of 100.000%                               6950-000                                        800.54        206,279.68

07/27/23   200318     Sanchez, Miguel                     Dividend of 100.000%                               6950-000                                    1,434.23          204,845.45

07/27/23   200319     Sangalang, Christian                Dividend of 100.000%                               6950-000                                        345.68        204,499.77

07/27/23   200320     Segura, Kandise                     Dividend of 100.000%                               6950-000                                        114.31        204,385.46

07/27/23   200321     Sharifi Narani, Kian                Dividend of 100.000%                               6950-000                                    1,360.93          203,024.53

07/27/23   200322     Stephens, Amanda                    Dividend of 100.000%                               6950-000                                    1,921.27          201,103.26
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                                                      Cash Receipts and Disbursements Record
Case Number:          23-10571 SC                                                                 Trustee:                Richard A. Marshack, Chapter 11 Trustee
Case Name:            The Litigation Practice Group PC                                            Bank Name:              Flagstar Bank, N.A.
                                                                                                  Account:                ******4611 - Payroll and Operating Account
Taxpayer ID#:         **-***5343                                                                  Blanket Bond:           $0.00 (per case limit)
Period Ending:        07/31/23                                                                    Separate Bond:          N/A

   1             2                       3                                       4                                                 5                     6                   7

 Trans.    Check or                                                                                           Uniform           Receipts           Disbursements         Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                     $            Account Balance

07/27/23   200323     Tabatabaii Nejad, Seyed Amirreza Dividend of 100.000%                                  6950-000                                    1,542.38          199,560.88

07/27/23   200324     Taing, Selina K                    Dividend of 100.000%                                6950-000                                    1,940.00          197,620.88

07/27/23   200325     Tan, Maria                         Dividend of 100.000%                                6950-000                                    5,453.30          192,167.58

07/27/23   200326     Vaughan, Jarod R                   Dividend of 100.000%                                6950-000                                        420.72        191,746.86

07/27/23   200327     Vazquez, Cindy                     Dividend of 100.000%                                6950-000                                    1,382.28          190,364.58

07/27/23   200328     Zargaran, Hanieh                   Dividend of 100.000%                                6950-000                                    2,005.33          188,359.25

07/27/23   200329     Zin, Reham E                       Dividend of 100.000%                                6950-000                                    1,208.55          187,150.70

07/27/23   200330     Zinchini, Max                      Dividend of 100.000%                                6950-000                                        724.75        186,425.95

07/27/23   200331     Riano, Elioenai                    payroll 7/28/23                                     6950-000                                        460.91        185,965.04

07/27/23   200332     Saldana-Lopez, Karen               payroll 7/28/23                                     6950-000                                        638.89        185,326.15

07/27/23   200333     Zoom Video Communications Inc. MAVERICK Invoice 196200030 - 7/4/23; due                2690-000                                    4,406.16          180,919.99
                                                     8/4/23; this is a quarterly payment

07/27/23   200334     CaliforniaChoice                   Acct 75446 for Maverick; Balance for past due       6950-000                                   46,823.83          134,096.16
                                                         July premium
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                                                      Cash Receipts and Disbursements Record
Case Number:          23-10571 SC                                                               Trustee:                Richard A. Marshack, Chapter 11 Trustee
Case Name:            The Litigation Practice Group PC                                          Bank Name:              Flagstar Bank, N.A.
                                                                                                Account:                ******4611 - Payroll and Operating Account
Taxpayer ID#:         **-***5343                                                                Blanket Bond:           $0.00 (per case limit)
Period Ending:        07/31/23                                                                  Separate Bond:          N/A

   1             2                    3                                        4                                                  5                    6                 7

 Trans.    Check or                                                                                         Uniform            Receipts          Disbursements       Checking
  Date      Ref. #          Paid To / Received From                Description of Transaction              Tran. Code             $                    $          Account Balance

07/27/23   200335     Principal Life Insurance Company   Maverick Management acct 1161779-10001;           6950-004                                    8,758.56        125,337.60
                                                         Stopped on 08/11/2023


                                                                              ACCOUNT TOTALS                                   2,056,336.02        1,930,998.42       $125,337.60
                                                                                 Less: Bank Transfers                                  0.00        1,261,191.98

                                                                              Subtotal                                         2,056,336.02          669,806.44
                                                                                 Less: Payment to Debtors                                                  0.00

                                                                              NET Receipts / Disbursements                    $2,056,336.02         $669,806.44
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                                                      Cash Receipts and Disbursements Record
Case Number:          23-10571 SC                                                                 Trustee:                Richard A. Marshack, Chapter 11 Trustee
Case Name:            The Litigation Practice Group PC                                            Bank Name:              Flagstar Bank, N.A.
                                                                                                  Account:                ******4344 - Payroll Tax
Taxpayer ID#:         **-***5343                                                                  Blanket Bond:           $0.00 (per case limit)
Period Ending:        07/31/23                                                                    Separate Bond:          N/A

   1             2                    3                                          4                                                 5                     6                 7

 Trans.    Check or                                                                                           Uniform           Receipts           Disbursements       Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                     $          Account Balance

07/06/23              From Account# XXXXXX4611           6/16 and 6/30 pay dates                             9999-000            180,000.00                              180,000.00

07/19/23              From Account# XXXXXX4611           for 7/14/23 payroll                                 9999-000              75,000.00                             255,000.00

07/19/23   300001     Internal Revenue Service           XX-XXXXXXX withholding and ER portion               6950-000                                   71,798.41        183,201.59
                      Centralized Insolvency Operation   6/16/2023 FIT $24,068.83 MED EE $4,523.40
                                                         SSA EE $19,341.39
                                                         ER portion $4,523.40 $19,341.39
                                                         total for 6/16/23 $71,798.41

07/19/23   300002     Internal Revenue Service           XX-XXXXXXX withholding and ER portion      6950-000                                            75,045.21        108,156.38
                      Centralized Insolvency Operation   6/30/2023 PIT $36,246.75 MED $3,676.98 SSA
                                                         $15,722.25
                                                         ER portion MED $3,676.98 SSA $15,722.25
                                                         total for 6/30/23 $75,045.21

07/19/23   300003     Employment Development             125-5009-1 - withholding taxes 6/16                 6950-000                                   26,872.89         81,283.49
                      Department                         $12,285.23 $2,759.92 and 6/30/23 $9,545.48
                                                         $2,282.26



07/19/23   300004     Internal Revenue Service           XX-XXXXXXX withholding and ER portion               6950-000                                   55,987.31         25,296.18
                      Centralized Insolvency Operation   7/14/2023 PIT $17,238.85 MED $3672.24 SSA
                                                         $15,701.99
                                                         ER portion MED $3,672.24 SSA $15,701.99
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                                                      Cash Receipts and Disbursements Record
Case Number:          23-10571 SC                                                                Trustee:                Richard A. Marshack, Chapter 11 Trustee
Case Name:            The Litigation Practice Group PC                                           Bank Name:              Flagstar Bank, N.A.
                                                                                                 Account:                ******4344 - Payroll Tax
Taxpayer ID#:         **-***5343                                                                 Blanket Bond:           $0.00 (per case limit)
Period Ending:        07/31/23                                                                   Separate Bond:          N/A

   1             2                    3                                         4                                                 5                     6                 7

 Trans.    Check or                                                                                          Uniform           Receipts           Disbursements       Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                     $          Account Balance

07/19/23   300005     Employment Development             125-5009-1 - withholding taxes 7/14/23 PIT         6950-000                                   11,324.43         13,971.75
                      Department                         $9,045.11 SDI $2,279.32



                                                                               ACCOUNT TOTALS                                   255,000.00            241,028.25        $13,971.75
                                                                                  Less: Bank Transfers                          255,000.00                  0.00

                                                                               Subtotal                                                   0.00        241,028.25
                                                                                  Less: Payment to Debtors                                                  0.00

                                                                               NET Receipts / Disbursements                           $0.00          $241,028.25
                           Case 8:23-bk-10571-SC            Doc 541-2 Filed 09/26/23 Entered 09/26/23 17:06:01                                  Desc
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                                                      Cash Receipts and Disbursements Record
Case Number:          23-10571 SC                                                              Trustee:                Richard A. Marshack, Chapter 11 Trustee
Case Name:            The Litigation Practice Group PC                                         Bank Name:              Flagstar Bank, N.A.
                                                                                               Account:                ******3526 - Sale proceeds both bidders
Taxpayer ID#:         **-***5343                                                               Blanket Bond:           $0.00 (per case limit)
Period Ending:        07/31/23                                                                 Separate Bond:          N/A

   1             2                      3                                     4                                                  5                    6                  7

 Trans.    Check or                                                                                        Uniform            Receipts          Disbursements        Checking
  Date      Ref. #          Paid To / Received From               Description of Transaction              Tran. Code             $                    $           Account Balance

07/27/23              From Account# XXXXXX4611           BENSOMOCHAN sale proceeds                        9999-000             999,663.98                              999,663.98


                                                                             ACCOUNT TOTALS                                    999,663.98                  0.00       $999,663.98
                                                                                Less: Bank Transfers                           999,663.98                  0.00

                                                                             Subtotal                                                    0.00              0.00
                                                                                Less: Payment to Debtors                                                   0.00

                                                                             NET Receipts / Disbursements                            $0.00                $0.00


                       Net Receipts:           $8,313,104.54                                                                       Net               Net                Account
                                                                                  TOTAL - ALL ACCOUNTS                           Receipts       Disbursements           Balances
                          Net Estate:          $8,313,104.54
                                                                                  Checking # ******2953                                  0.00              0.00      6,248,466.48
                                                                                  Checking # ******3526                                  0.00              0.00        999,663.98
                                                                                  Checking # ******4344                                  0.00       241,028.25          13,971.75
                                                                                  Checking # ******4611                       2,056,336.02          669,806.44         125,337.60
                                                                                  Checking # ******9960                       6,256,768.52            7,773.29               7,056.75
                                                                                                                             $8,313,104.54         $918,607.98      $7,394,496.56
